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      INC. d/b/a BLINGJEWELRY.COM, and
  6 ELENA CASTANEDA

  7
                          UNITED STATES DISTRICT COURT
  8
           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  9

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 11    EAR CHARMS, INC., a California            Case No.: 8:16-cv-02091-KES
       corporation,
 12                                             Assigned to Hon. Karen E. Scott.
                          Plaintiff,            Courtroom 6D
 13
                    v.
 14
       BLING JEWELRY, INC. d/b/a                 DEFENDANTS BLING
 15    BLINGJEWELRY.COM, a Delaware              JEWELRY, INC. d/b/a
       corporation; ELENA CASTANEDA,             BLINGJEWELRY.COM and
 16    an individual; and DOES 1 to 10,          ELENA CASTENEDA’s EX
       inclusive,                                PARTE APPLICATION FOR
 17                                              LEAVE TO FILE MOTION IN
                          Defendants.            LIMINE TO EXCLUDE LATE
 18                                              PRODUCED DOCUMENTS-
                                                 EXHIBITS 43 and 44;
 19
                                                 MOTION IN LIMINE FILED
 20                                              CONCURRENTLY

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                         DEFENDANTS’ EX PARTE TO FILE MOTION IN LIMINE
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  1        Defendants BLING JEWELRY, INC. d/b/a BLINGJEWELRY.COM,
  2 (“Bling Jewelry” and its chief executive Elena Casteneda (“Casteneda”)

  3 (collectively, “Defendants”) respectfully seeks relief for a portion of this Court’s ex

  4 parte relief from this Court’s Scheduling and Preparation for Civil Trial Order [Dkt.

  5 No. 76] issued on April 23, 2019 for leave to file its motion in limine to exclude

  6 Plaintiff Ear Charms, Inc. (“Plaintiff”) from introducing and/or relying on late

  7 produced and identified evidence at trial, specifically Exhibit Numbers 43 and 44,

  8 the purported transfer documents for Registration Nos. VA0000647147 and

  9 VA0000711343. Good cause exists for relief from the scheduling order’s provisions

 10 regarding motions in limine based on the following facts known to and confirmed by

 11 the undersigned counsel.

 12        Defendants were unaware that Plaintiff would be attempting to mark and
 13 introduce Exhibit Numbers 43 and 44 during the trial until May 9, 2019, well after

 14 the April 11 deadline imposed by the local rules to disclose trial exhibits, the April

 15 30 deadline to meet and confer on motions in limine, the May 1 deadline to meet

 16 and confer on exhibits, the May 6 deadline for Defendants to provide their portion

 17 of any of their own motions in limine to Plaintiff, and only two business days prior

 18 to the deadline in the scheduling order to file Joint Motion(s) in limine.

 19        Rather than timely disclose its intent to add Exhibits 43 and 44 to the Joint
 20 Exhibit List, Plaintiff made its first efforts to try to schedule renewed meet and

 21 confer efforts for trial on the Exhibit List on April 29, 2019. In response,

 22 Defendants offered to review and amend the Exhibit list from the prior meet and

 23 confer in advance of the previously set February 2019 trial date that Plaintiff had

 24 prepared. Plaintiffs made no indication that they would further add to the exhibit

 25 list, and Defendants provided their changes on May 2, 2019- breaking out two

 26 documents from compound exhibits already included on the list.
 27        Defendants then waited until May 9, 2019 to revise the Exhibit list by adding
 28 Exhibits 43 and 44, documents that Defendants had believed were out of play for the


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                          DEFENDANTS’ EX PARTE TO FILE MOTION IN LIMINE
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  1 trial because they were not produced until well after the (twice extended) close of

  2 discovery, days before a final settlement conference, and weeks before the

  3 previously scheduled trial date. Within minutes, Defendants notified Plaintiff that

  4 they would seek to file a motion in limine to exclude the documents, and Plaintiff

  5 made no effort to withdraw the exhibits. Defendants quickly prepared and served

  6 their portion of the joint filing on the motion two business days later on May 13,

  7 2019. Plaintiff completed and served its portion of the Joint filing the afternoon of

  8 May 15, 2019, and Defendants moved to file the joint motion and this ex parte

  9 application the same day.

 10        For the foregoing reasons, Defendants respectfully request that the Court
 11 allow its late filed motion in limine to be heard, as the facts demonstrate good cause

 12 for Defendants’ filing of the joint submission on the motion two days after the

 13 deadline set forth by the Court in Docket No. 76.

 14

 15 Respectfully Submitted,

 16 May 15, 2019                            SYVERSON, LESOWITZ & GEBELIN LLP
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 18                                                By: /s/Steven T. Gebelin
 19                                                     STEVEN T. GEBELIN
                                                   Attorneys for Defendants BLING
 20                                                JEWELRY, INC. d/b/a
 21                                                BLINGJEWELRY.COM, and ELENA
                                                   CASTANEDA
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                              DEFENDANTS’ P&A ISO MOTION IN LIMINE
